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     corporation
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11
                                 UNITED STATES DISTRICT COURT
12
                CENTRAL DISTRICT OF CALIFORNIA—SOUTHERN DIVISION
13
14   LDR INTERNATIONAL LIMITED, a                     )   Case No. 8:23−cv−00257−DOC (JDEx)
15   British Virgin Island corporation;               )
                                                      )   EX PARTE APPLICATION TO
16                  Plaintiff,                        )   CONTINUE STATUS CONFERENCE;
                                                      )   MEMORANDUM OF POINTS AND
17         v.                                         )   AUTHORITIES; DECLARATION OF
                                                      )   RONALD RICHARDS
18   SARA JACQUELINE KING, an                         )
     individual, and KING FAMILY                      )   CURRENT DATE: 4/11/23
19   LENDING LLC, a California limited                )
     liability company;                               )   PROPOSED DATE: 4/13/23
20                                                    )
                    Defendants.                       )   ([Proposed] Order lodged concurrently
21                                                    )   herewith)
                                                      )
22
23         PLEASE TAKE NOTICE that Plaintiff LDR International Limited (“Plaintiff”)
24   hereby applies ex parte to continue the status conference set for April 11, 2023 at
25   9:30AM to April 13, 2023 at 9:30AM.
26         Defendant King is an attorney and is representing herself. Pursuant to Central
27   District Local Rule 7-19, King’s contact information is as follows: Sara King (Cal. State
28   Bar No. 299115), email sarakingproper@gmail.com and mauisara88@gmail.com,


                EX PARTE APPL.TO CONTINUE STATUS CONFERENCE; MEMO OF P’s & A’s; R. RICHARDS DECL.
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 1   sjking@lotzkinglaw.com, sarajking@gmail.com, P.O. Box 8114, Rancho Santa Fe,
 2   California 92067, telephone (949) 220-3666. (Declaration of Ronald Richards
 3   (“Richards Decl.”), attached hereto, at ¶ 3.)
 4                  MEMORANDUM OF POINTS AND AUTHORITIES
 5         On April 4, 2023, this Court issued a status conference notice for April 11, 2023
 6   at 9:30am. Counsel for Plaintiff has a previously scheduled dental appointment to
 7   repair a tooth. The dentist is leaving the country on a family trip and the appointment
 8   cannot be rescheduled. The appointment is on the East Coast.
 9         The court clerk indicated that April 13, 2023 was available. Counsel inquired
10   with Ms. King if she would sign a stipulation in the early afternoon. She did not
11   respond. The clerk indicated a stipulation or motion would be acceptable. Since Ms.
12   King has not responded to emails recently, Plaintiff’s counsel decided it would be best
13   to make the motion as soon as possible.
14         For these reasons, Plaintiff respectfully requests that the status conference set to
15   be heard on April 11, 2023, at 9:30 a.m. be vacated and a new status conference be set
16   for April 13, 2023 at 9:30 a.m. or any other time convenient for the Court.
17
                                                 LAW OFFICES OF RONALD RICHARDS &
18   DATED: April 5, 2023                        ASSOCIATES, A.P.C.
19
                                                 By:    / s / Ronald N. Richards, Esq.
20                                                     Ronald N. Richards
                                                 Attorneys for Plaintiff LDR
21                                               INTERNATIONAL LIMITED
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             EX PARTE APPL.TO CONTINUE STATUS CONFERENCE; MEMO OF P’s & A’s; R. RICHARDS DECL.
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 1
                     DECLARATION OF RONALD RICHARDS, ESQ.
 2
           1.     I am the attorney for Plaintiff LDR International Limited (“Plaintiff”) and
 3
     admitted to practice in front of this Court. The following facts are based on my
 4
     personal knowledge and if called to do so, I could and would testify thereto.
 5
           2.     This declaration is filed in support of Plaintiff’s Ex Parte Application to
 6
     continue the status conference.
 7
           3.     Pursuant to Central District Local Rule 7-19, defendant Sara King
 8
     (“King”) is represented in pro per by Sara King (Cal. State Bar No. 299115), email
 9
     sarakingproper@gmail.com, mauisara88@gmail.com, sjking@lotzkinglaw.com, and
10
     sarajking@gmail.com, P.O. Box 8114, Rancho Santa Fe, California 92067, telephone
11
     (949) 220-3666.
12
           4.     I have a previously scheduled dental appointment to repair a tooth on
13
     April 11, 2023. The dentist is leaving the country on a family trip and the
14
     appointment cannot be rescheduled. The appointment is on the East Coast.
15
           5.     I emailed Ms. King on April 4, 2023 in the early afternoon. I did not get
16
     a response as of this morning, April 5, 2023.
17
           6.     Due to the hearing being set a week from today, I decided to get the
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     motion on file as I needed enough time to make appropriate travel plans.
19
           7.     The court clerk confirmed the 13th would be an acceptable date to move
20
     the status conference to.
21
           I declare under penalty of perjury under the laws of the United States of the
22
     America the above to be true and correct dated April 5, 2023.
23
                                                                /s Ronald Richards
24                                                            ___________________
25                                                              Ronald Richards

26
27

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                                                                                                )
                                   DECLARATION OF RONALD RICHARDS
